     Case 8:17-cr-00158-DOC Document 23 Filed 08/02/18 Page 1 of 1 Page ID #:65



 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     MARK AVEIS (Cal. Bar No. 107881)
 4   PAUL G. STERN (Cal. Bar No. 162734)
     CASSIE D. PALMER (Cal. Bar No. 268383)
 5   Assistant United States Attorneys
     Major Frauds Section
 6        1100 United States Courthouse
          312 North Spring Street
 7        Los Angeles, California 90012
          Telephone: (213) 894-4477/0702/0363
 8        Facsimile: (213) 894-6269
          E-mail:    mark.aveis@usdoj.gov
 9                   paul.stern@usdoj.gov
                     cassie.palmer@usdoj.gov
10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11

12                         UNITED STATES DISTRICT COURT

13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,              No. SA CR 17-158-DOC

15            Plaintiff,                    ORDER APPROVING
                                            STIPULATION TO CONTINUE
16                  v.                      SENTENCING HEARING [22]

17   MINA KOLTA,                            [No hearing set]

18            Defendant.

19
20

21        Based upon the parties’ stipulation, and good cause appearing,
22        IT IS HEREBY ORDERED that the sentencing hearing in this case,
23   currently set for September 24, 2018 at 7:30 a.m., is continued to
24   February 25, 2019, at 7:30 a.m.
25   Dated: August 2, 2018                  _________________________
                                            David O. Carter
26                                          United States District Judge
27

28
